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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------------------X   Docket No.:
CHRISTINA GAVIN,

                                                     Plaintiff,                       COMPLAINT

                          -against-
                                                                                      PLAINTIFF DEMANDS
THE CITY OF NEW YORK,                                                                 A TRIAL BY JURY
POLICE SERGEANT MATTHEW TOCCO (TAX ID 940805),
AND INSPECTOR GERARD DOWLING (TAX 915640),

                                                      Defendants.
----------------------------------------------------------------------------------X

        Plaintiff, CHRISTINA GAVIN, by her attorney, Elena L. Cohen of Cohen & Green

PLLC, hereby complains of the defendants, upon information and belief, as follows:

                              PARTIES, VENUE AND JURISDICTION

1. At all times mentioned herein, plaintiff, Christina Gavin, was an adult resident of Bronx

    County, in the State of New York.

2. At all relevant times mentioned herein, defendant, City of New York ("New York City"),

    was and is a municipal corporation duly organized and existing under and by virtue of the

    laws of the State of New York and acts by and through its agencies, employees and agents,

    including, but not limited to, the New York City Police Department (“NYPD”), and their

    employees.

3. At all times hereinafter mentioned, defendant, POLICE SERGEANT MATTHEW TOCCO

    (TAX ID 940805), was an adult man employed by the City of New York as a member of the

    NYPD assigned to the Disorder Control Unit of the NYPD. Defendant Tocco is sued herein

    in his official and individual capacities.




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4. At all times hereinafter mentioned, defendant, POLICE INSPECTOR GERALD DOWLING

   (TAX ID 915640), was an adult man employed by the City of New York as a member of the

   NYPD assigned to the Strategic Response Group of the NYPD. Defendant Dowling is sued

   herein in his official and individual capacities.

5. This Court has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331, 1343 and 1367, and

   42 U.S.C. § 1983.

6. Venue is proper pursuant to 28 U.S.C. § 1391, et seq., in the Southern District of New York,

   where the plaintiff and defendant City of New York reside, and where the majority of the

   actions complained of herein occurred.

7. Plaintiff timely served a Notice of Claim on the municipal defendant and complied with all

   conditions precedent to commencing an action under state law.

8. At least thirty days have elapsed since service of plaintiff’s Notice of Claim and adjustment

   and payment thereof has been neglected or refused.

9. This action has been initiated within one year and ninety days of the accrual of plaintiff’s

   claims pursuant to New York State Law.

                                          RELEVANT FACTS

10. On November 22, 2019, at about 6:00 p.m. plaintiff was lawfully present at a protest at or

   around 158 West 125th Street, in the County, City and State of New York.

11. Shortly after the protest began, members of the NYPD corralled protesters and forced them

   to go into the street.

12. Over a loudspeaker, upon information and belief, officers played a pre-made recording

   stating that the protest was illegal and instructing protesters to leave the street and get on the

   sidewalk.

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13. Plaintiff immediately attempted to obey this instruction and leave the street.

14. However, for plaintiff, leaving the street and getting onto the sidewalk proved to be

   impossible as a practical matter. At the moment the instruction was given, plaintiff was

   situated between two large public buses blocking direct access to the sidewalk — the buses

   were travelling in opposite directions on 125th Street.

15. On the left-hand side, traffic past the bus was bumper to bumper and it was not reasonably

   possible to pass in that direction to the sidewalk (and the crowd was pressing in the opposite

   direction).

16. Just past the bus on plaintiff’s right-hand side was a crowd of other protesters, bottlenecking

   onto the sidewalk. Thus, plaintiff kept walking along 125th Street, attempting to obey the

   direction to leave the street. Plaintiff walked past the bus and the crowd to her right in order

   to get to the sidewalk, passing a police van towards what appeared to be an open path to the

   sidewalk.

17. After going around the bus and the crowd, however, Plaintiff was confronted by one of the

   Defendants, believed to be Police Sergeant Matthew Tocco, who demanded, in sum and

   substance, “Where do you think you’re going?,” grabbing plaintiff’s left arm.

18. Plaintiff responded, saying, “I’m trying to get to the sidewalk.” The officer yelled, “shut the

   fuck up!,” and another member of the NYPD, believed to be Inspector Gerard Dowling,

   immediately grabbed plaintiff’s right arm.

19. Defendants Tocco and Dowling subsequently kicked plaintiff’s feet out from under her,

   driving plaintiff to the ground, and causing plaintiff’s body to hit the street and causing

   abrasions to her legs.




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20. Once plaintiff was on the ground, the defendants placed her in handcuffs. At no point since

   hearing the instruction to get on the sidewalk would it have been possible for plaintiff to

   actually get onto the sidewalk. Nor had plaintiff violated any law prior to the defendants

   apprehending and arresting her.

21. The defendants lacked any probable cause for arresting plaintiff and indeed interfered with

   plaintiff’s ability to obey the instruction to leave the street.

22. Plaintiff did not, at any point, resist arrest, nor did Plaintiff engage in any other activity

   which would have justified any use of force against her.

23. Plaintiff was not involved in any activity that would have justified her arrest, and there in fact

   existed no probable cause to justify plaintiff’s arrest or detention.

24. Despite the absence of any probable cause to arrest plaintiff, the defendants assigned

   plaintiff’s arrest to Police Officer Jonathan Calderon (Shield #8217) of the NYPD Strategic

   Response Group 4 Queens.

25. Police Officer Jonathan Calderon then placed plaintiff in the back of a police vehicle and

   transported plaintiff to One Police Plaza, where plaintiff was held for a number of hours

   before she was transported to New York County Central Booking where she was held in

   custody for an additional number of hours.

26. While at Central Booking and while at One Police Plaza, plaintiff engaged in conversation

   with Officer Calderon. During those conversions, Officer Calderon expressed confusion to

   plaintiff as to what plaintiff was going to be charged with — or why she was arrested at all.

27. Upon information and belief, Officer Calderon specifically stated that he “didn’t see what

   happened” and “d[idn’t] know what happened” that lead to her arrest. Further, Officer

   Calderon stated that Claimant could and should “just sue” the police department. He further

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   observed that “[w]hen I saw you, you were calm. I don’t know that I would have put

   handcuffs on you” and he again confirmed he did not know why she was being arrested.

28. Plaintiff was arraigned on a criminal complaint containing false allegations provided by

   defendants Tocco and Dowling.

29. In support of the criminal complaint, defendants Tocco and Dowling made several false

   allegations, including but not limited to, alleging that plaintiff jumped on top of Inspector

   Dowling’s back while defendants Tocco and Dowling were making a lawful arrest of another

   individual for blocking vehicle traffic and refusing to go onto the sidewalk.

30. These and other allegations were false and defendants Tocco and Dowling knew them to be

   false when they made them.

31. Defendant Tocco and Dowling forwarded these false allegations or caused the allegations to

   be forwarded to the New York County District Attorney’s Office despite the false nature of

   the allegations.

32. At her arraignment, Plaintiff acceded to an adjournment in contemplation of dismissal and

   her charges were eventually dismissed.

33. At no time did defendants have probable cause to seize, detain or arrest the plaintiff, nor to

   use any force on plaintiff, nor was it reasonable for the defendants to believe that such cause

   existed.

34. At no time did any of the defendants, or any other member of the NYPD, take any steps to

   intervene in, prevent, or otherwise limit the heretofore conduct engaged in by their fellow

   officers.




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35. That at all times relevant herein, the defendants were acting within the scope of their

   employment, and their acts were done in furtherance of the City of New York’s interests and

   without legal justification or excuse.

                                 FIRST CAUSE OF ACTION
             (Section 1983 False Arrest Claim Against the Individual Defendants)

   36. Plaintiff hereby realleges and incorporates all of the preceding paragraphs as though they

       were fully set forth herein.

   37. The individual defendants willfully and intentionally seized, searched, detained, and

       arrested plaintiff, and caused her to be imprisoned, without probable cause, and without a

       reasonable basis to believe such cause existed.

   38. Plaintiff had not been engaged in any criminal conduct, nor was she engaged in any

       conduct that could reasonably be viewed as criminal nor a basis to justify her arrest.

   39. Despite the absence of sufficient legal cause, plaintiff was arrested and jailed.

   40. By so doing, the individual defendants subjected plaintiff to false arrest and

       imprisonment, and thereby violated and aided and abetted in the violation of plaintiff’s

       rights under the Fourth Amendment of the United States Constitution.

   41. By reason thereof, the individual defendants have violated 42 U.S.C §1983 and caused

       plaintiff to suffer the deprivation of her liberty, loss of her constitutional rights, physical

       injuries, and mental anguish.

                             SECOND CAUSE OF ACTION
      (Section 1983 Denial of a Fair Trial Claim Against the Individual Defendants)

   42. Plaintiff hereby realleges and incorporates by reference all of the preceding paragraphs as

       though they were fully set forth herein.

   43. The individual defendants willfully and intentionally fabricated evidence by falsely

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   memorializing claims to have witnessed plaintiff engaging in criminal or unlawful

   activity, and then forwarded these materially false claims to the New York County

   District Attorneys Office in order to justify the arrest of plaintiff, and to justify, bring

   about and cause plaintiff to be deprived of her liberty and to be criminally prosecuted.

44. By so doing, the individual defendants subjected the plaintiff to denial of a fair trial and

   violation of her right to due process by fabricating evidence and otherwise providing

   prosecutors with a materially false and misleading version of events, and thereby violated

   plaintiff’s rights under the Fourth, Sixth, and Fourteenth Amendments of the United

   States Constitution.

45. By reason thereof, the individual defendants have violated 42 U.S.C. §1983 and caused

   plaintiff to suffer the deprivation of her liberty, loss of her constitutional rights, physical

   injuries, and mental anguish.

                           THIRD CAUSE OF ACTION
      (Section 1983 Excessive Force Claim Against the Individual Defendants)

46. Plaintiff hereby realleges and incorporates by reference all of the preceding paragraphs as

   though they were fully set forth herein.

47. As a result of the foregoing, defendants subjected plaintiff to excessive force, in part, by

   causing her body to slam to the ground, and causing her to suffer injuries, with no legal

   basis, justification or excuse.

48. As a result of the defendants’ conduct, the plaintiff was subjected to a level of force by

   the defendants in excess of what was reasonable under the circumstances.

49. As a result of the foregoing, plaintiff’s liberty was restricted and she was put in fear for

   her physical safety without probable cause or any legal justification, and she was

   physically injured.
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                         FOURTH CAUSE OF ACTION
           (Section 1983 Monell Claim Against the Municipal Defendant)

50. Plaintiff hereby realleges and incorporates by reference all of the preceding paragraphs as

   though they were fully set forth herein.

51. Defendant City of New York was responsible for ensuring that reasonable and

   appropriate levels of supervision were in place within and/or over the NYPD.

52. Defendant City of New York had actual or constructive knowledge that there was

   inadequate supervision over and/or within the NYPD with respect to its members’ abuse

   of their authority, abuse of arrest powers, excessive force, and fabrication of evidence,

   and other blatant violations of the United States Constitution and the rules and

   regulations of the NYPD.

53. Despite ample notice of inadequate supervision, defendants took no steps to ensure that

   reasonable and appropriate levels of supervision were put place to reasonably ensure that

   NYPD members engaged in police conduct in a lawful and proper manner, including

   their use of their authority as law enforcement officers with respect to the general public,

   including, and specifically, the plaintiff herein.

54. Defendant City of New York deliberately and intentionally chose not to take action to

   correct the chronic, systemic, and institutional misuse and abuse of police authority by its

   NYPD employees, and thereby deliberately and intentionally adopted, condoned, and

   otherwise created through deliberate inaction and negligent supervision, an NYPD policy,

   practice, and custom of utilizing illegal and impermissible searches, arrests, and

   detentions, excessive force, and the manufacturing of evidence, in the ordinary course of

   NYPD business in flagrant disregard of the state and federal constitutions, as well as the

   Patrol Guide, up to and beyond the plaintiff’s arrest.
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55. The acts complained of herein are a direct and proximate result of the failure of the City

   of New York and the NYPD properly to select, train, supervise, investigate, promote and

   discipline police and correction officers and supervisory officers.

56. The failure of the City of New York and the NYPD properly to select, train, supervise,

   investigate, promote and discipline police and correction officers and supervisory officers

   constitutes gross and deliberate indifference to unconstitutional conduct by those officers.

57. The official policies, practices and customs of the City of New York and the NYPD

   alleged herein violated plaintiff’s rights guaranteed by 42 U.S.C. § 1983, the Fourth and

   Fourteenth Amendments to the Constitution of the United States.

58. All of the acts and omissions by the individual defendants described above were carried

   out pursuant to overlapping policies and practices of the municipal defendant in their

   capacities as police officers and officials pursuant to customs, policies, usages, practices,

   procedures, and rules of the City and the NYPD, all under the supervision of ranking

   officers of the NYPD.

59. Therefore the municipal defendant has not only tolerated, but actively fostered a lawless

   atmosphere within the NYPD and that the City of New York was deliberately indifferent

   to the risk that the inadequate level of supervision would lead to the violation of

   individuals’ constitutional rights in general, and caused the violation of the plaintiff’s

   rights in particular.

60. By reason thereof, the municipal defendant has violated 42 U.S.C. §1983 and caused

   plaintiff to suffer emotional and physical injuries, mental anguish, incarceration and the

   deprivation of liberty, and the loss of her constitutional rights.




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                                      Fifth Cause of Action
                    (Civil Rights Violations Pursuant to New York State Law
                       Against the Individual and Municipal Defendants)

   61. Plaintiff repeats the allegations contained in each of the foregoing paragraphs as though

         stated fully herein.

   62. Plaintiff was subjected to false arrest, excessive force, denial of due process and fair trial,

         through the defendants’ use of unreasonable force, fabricated evidence and the making of

         false statements.

   63. At no time did defendants have any legal basis for arresting plaintiff, subjecting her to

         prosecution, or commencing criminal process against her, nor was there any reasonable

         basis to believe said conduct set forth herein was lawful, reasonable, or otherwise

         appropriate.

   64. The defendants are therefore liable under New York law to plaintiff for false arrest,

         excessive force, denial of due process and fair trial.

   65. By reason thereof, defendants have caused plaintiff to suffer emotional and physical

         injuries, mental anguish, the loss of her constitutional rights, and unlawful incarceration.

                                    DEMAND FOR A JURY TRIAL

         Pursuant to Fed. R. Civ. P. 38, plaintiff hereby demands a jury trial of all issues capable

of being determined by a jury.

         WHEREFORE, the plaintiff demands judgment against the individual defendants and the

City of New York as follows:

   i.        actual and punitive damages against the individual defendants in an amount to be

             determined at trial;

   ii.       actual damages in an amount to be determined at trial against the City of New York;
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   iii.      statutory attorney’s fees pursuant to, inter alia, 42 U.S.C. §1988 and New York

             common law, disbursements, and costs of the action; and

   iv.       such other relief as the Court deems just and proper.

Dated: New York, New York
       October 1, 2020

                                                              ELENA L. COHEN

                                                                      /s/
                                                      By:     ______________________
                                                              Cohen & Green PLLC
                                                              1639 Centre Street, Suite 216
                                                              Ridgewood, NY 11385
                                                              Tel.: 929-888-9480
                                                              elena@femmelaw.com




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